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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA


 RICHARD DOWNER,                                CASE NO.: 12-CV-61384-RSR

                      Plaintiff,

 v.

 WESTON ALE HOUSE, L,L,C., d/b/a
 CAROLINA ALE HOUSE and
 GASFORL, L.L.C.,

                      Defendants.
                                           /

                   DEFENDANT, WESTON ALE HOUSE, L.L.C.’S,
                    ANSWER AND DEFENSES TO COMPLAINT

        The Defendant, WESTON ALE HOUSE, L.L.C., by and through its undersigned

 attorneys, and for its answer and defenses to Plaintiff’s complaint states:

        1.     Defendant denies the allegations of paragraphs 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,

 12, 13, 14, 15, 16, 17, 18, 19, 20, and 21, and demands strict proof.

        2.     Defendant denies any and all allegations not specifically admitted in this

 answer and demand strict proof.

        3.     Any all modifications requested by Plaintiff are not readily achievable.

        4.     Plaintiff does not have standing to maintain this action.

        5.     Any and all modifications requested by Plaintiff would create an undue

 financial hardship upon Defendant.

        6.     Defendant is not required by the Americans With Disabilities Act nor the
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 ADAAG’s to make any of the modifications requested by Plaintiff.

        7.     Plaintiff fails to set forth any ultimate facts or basis to support a prima facie

 case that Defendant has discriminated against him due to a disability.

        8.     Plaintiff has failed to satisfy conditions precedent including, but not limited to,

 providing adequate notice prior to filing suit and exhausting administrative remedies.

        9.     Defendant is not responsible or liable for ADA compliance on property it does

 not own or control.

        10.    Defendant is not liable to Plaintiff for damages or attorneys’ fees with respect

 to any improvements that it initiated separate and apart from the instant lawsuit by Plaintiff.

        11.    Plaintiff’s claims are not ripe for adjudication and/or are moot.

        12.    Plaintiff’s claims are barred by the doctrines of estoppel and waiver.

        13.    At all times material hereto, Defendant made a good faith effort to comply with

 all requirements of the ADA, and Defendant had reasonable grounds for believing its actions

 and/or alleged inactions are in compliance with applicable law. Therefore, judgment should

 be entered in favor of the Defendant.

        14.    To the extent that the demand for modification to policies, practices, and

 procedures would fundamentally alter the nature of the goods, services, facilities, privileges,

 advantages or accommodations, Defendant is not required to make or offer such

 modifications.

        15.    Plaintiff was fully capable of receiving and in fact received the same services



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 as non-disabled persons.

           16.   The property which is the subject of this action was designed and built prior

 to the effective date of the ADA, or to the Department of Justice Regulations for its

 implementation under Title III thereof.        The ADA does not require the Defendant’s

 compliance with the published regulations of the Department of Justice for new construction,

 but only with certain modifications therein.

           17.   Plaintiff has demanded modifications which amount to a fundamental

 alteration.

           18.   Plaintiff’s service as a “tester” indicates that he lacks a “continuing

 connection” to the subject property; therefore, Plaintiff has no standing to seek injunctive

 relief.

           19.   Plaintiff’s complaint fails to state a claim upon which relief can be granted

 against Defendant.

           20.   The barrier removals and/or other requests demanded by the Plaintiff are

 neither readily achievable, not reasonable, not required, and/or not technically feasible.

                                 Demand for Attorney’s Fees

           21.   Plaintiff has sued Defendant pursuant to 42 U.S.C. § 12001 et. seq.

           22.   Plaintiff’s action against Defendant is frivolous, unreasonable, and without

 foundation.

           23.   Defendant has been required to retain the undersigned counsel in its defense



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 of this action and is obligated to pay counsel a reasonable fee.

           24.    Pursuant to 42 U.S.C.S. § 12205 and 28 U.S.C.S. § 1927, Defendant is entitled

 to recover its attorney’s fees from Plaintiff once Defendant has prevailed in this action.

           WHEREFORE, Defendant, , respectfully requests that this Honorable Court enter an

 order awarding Defendant its reasonable attorney’s fees at the conclusion of this action.

                                      Demand for Jury Trial

           Defendant demand trial by jury of all issues so triable as of right by a jury.

                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 16th day of August, 2012, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

 foregoing document is being served this day on all counsel of records or pro se parties

 identified on the attached Service List in the manner specified, either via transmission of

 Notice of Electronic Filing generated by CM/ECF or in some other authorized manner for

 those counsel or parties who are not authorized to receive electronically Notices of Electronic

 Filing.

                                                   /s/ Christopher J. Stearns /s/
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                                    SERVICE LIST
               Downer v. Weston Ale House, L.L.C. and Gasforal, L.L.C.
                           Case No. 0:12-CV-61384-RSR
               United States District Court, Southern District of Florida


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